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 9
10                         UNITED STATES DISTRICT COURT
11                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                                     WESTERN DIVISION
13
14 CHARLES LARRY CREWS, JR.,                      Case No. 2:22-cv-01524-JLS-E
   Individually and on Behalf of All Others
15 Similarly Situated,                            CLASS ACTION
16                       Plaintiffs,
                                                  PLAINTIFFS’ OPPOSITION TO
17                v.                              DEFENDANTS’ EX PARTE
                                                  APPLICATION TO EXCEED WORD
18 RIVIAN AUTOMOTIVE, INC., et al.,               LIMITS FOR SUMMARY JUDGMENT
                                                  MOTION
19                      Defendants.
20
                                                  Judge: Hon. Josephine L. Staton
21
                                                  Magistrate Judge: Hon. Charles F. Eick
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 1                                       INTRODUCTION
 2         Defendants seek leave to file an omnibus brief in support of their motion for summary
 3 judgment of up to 10,000 words, an increase of more than 40% over the 7,000-word limit
 4 provided for in the local rules. See L.R. 11-6.1. Defendants further state that they “intend
 5 to file two separate motions for summary judgment,” one “on behalf of all Defendants”
 6 (including the Director Defendants) and one “on behalf of the Director Defendants only
 7 (due to their unique defenses).” But this presumption—that the Director Defendants can file
 8 multiple summary judgment motions—cannot be squared with Your Honor’s Individual
 9 Practices, which plainly state that “[a] party may file only one summary judgment motion.”
10 The Director Defendants have not sought leave to file two separate summary judgment
11 motions, let alone two summary judgment briefs, and counsel for the Rivian Defendants
12 never mentioned that they intended to file a second summary judgment motion at any point
13 during the parties’ meet and confer discussions. Instead, counsel for the Rivian Defendants
14 represented to Plaintiffs that “[o]nly the Rivian Defendants will move for summary
15 judgment,” and they requested an extension to the page limit for that single motion.
16         Defendants have failed to establish good cause for the excessive relief they seek.
17 Moreover, if granted, their request—which would allow Defendants to serve up to 17,000
18 words of summary judgment briefing and up to 49,000 words of Daubert briefing on July
19 3, 2025—would cause considerable prejudice to Plaintiffs. For the reasons discussed below,
20 the Rivian Defendants’ motion should be denied.
21                                          ARGUMENT
22         The Parties’ Meet-and-Confer Discussions. Although Defendants have been aware
23 of the July 3, 2025 deadline to move for summary judgment since January 10, 2025, see
24 ECF No. 447, they waited until June 9, 2025 to ask Plaintiffs for a meet and confer “to
25 discuss whether Plaintiffs are amenable to stipulating to an increase in the word limits for
26 Defendants’ briefing.” Plaintiffs responded on the evening of June 12 asking Defendants to
27 “please let [them] know whether the Rivian Defendants and the Underwriter Defendants
28 each plan to file an opening brief and a reply brief? Or, if not, can you please clarify whether

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 1 you are requesting the ability to file one opening brief of 10,000 words and one reply brief
 2 of 5,000 words on behalf of all Defendants?” Counsel for the Rivian Defendants responded:
 3 “Only the Rivian Defendants will move for summary judgment.”
 4         The next day, June 13, 2025, the parties convened a meet-and-confer to discuss
 5 Defendants’ word extension request. During that call, the parties discussed the
 6 contemplated summary judgment briefing, and Daubert briefing relating to the thirteen
 7 expert witnesses whose testimony has been offered by the parties. Plaintiffs stated that they
 8 opposed Defendants’ word limitation expansion request because it would be unduly
 9 burdensome for Plaintiffs to respond to a 10,000-word brief, 56.1 statement, and potentially
10 seven Daubert briefs of up to 7,000 words each in just four weeks and inundate the Court
11 with the scale of the briefing. In response, counsel for the Rivian Defendants proposed
12 staggering the summary judgment and Daubert briefing as a potential solution to address
13 Plaintiffs’ concerns. Plaintiffs agreed to consider this and, on Monday, June 16, 2025, in
14 advance of a second meet-and-confer on this issue, proposed a revised version of the
15 schedule.1
16         During the Rivian Defendants’ and Plaintiffs’ conference that day, the parties
17 discussed a modification to the case schedule proposed by Plaintiffs. Plaintiffs represented
18 to the Rivian Defendants that if the parties could agree to a modification of the case
19 schedule, Plaintiffs would not oppose Defendants’ request for their omnibus motion of up
20 to 10,000 words. Plaintiffs further asked if the Underwriter Defendants would confirm in
21 writing that they were not intending to file a separate summary judgment motion (and thus,
22 summary judgment brief and Rule 56.1 statement). The Underwriter Defendants
23 subsequently confirmed as much in writing. At no point during that call, however, did
24 counsel for the Rivian Defendants indicate that the Director Defendants actually intended
25 to file two summary judgment motions in violation the Court’s individual practices or two
26 briefs in violation of the Local Rules. See L.R. 7-5, L.R. 11-6.1. Following the call, counsel
27
     1
28    At the time Plaintiffs proposed this schedule, they were unaware that the Director
     Defendants intended to file a second summary judgment motion of up to 7,000 words.
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 1 for the Rivian Defendants proposed a handful of alterations to the schedule Plaintiffs
 2 proposed, to which Plaintiffs immediately responded. However, two days later, on June 18,
 3 2025, the Rivian Defendants informed Plaintiffs that Defendants planned to move ex parte,
 4 and did so at approximately 3:20 pm PT that same day.
 5         Defendants Have Not Demonstrated “Good Cause.” Defendants have failed to
 6 demonstrate good cause to file (i) an “omnibus” opening brief of up to 10,000 words and
 7 an “omnibus” reply brief of up to 5,000 words; and (ii) file two summary judgment
 8 motions.2
 9         Plaintiffs’ claims are premised upon seven statements, including three statements
10 made in Rivian’s Registration Statement and four statements related to Rivian’s 3Q 2021
11 financial results, and the failure to comply with Regulation S-K, Items 105 and 303 with
12 respect to Rivian’s Registration Statement. As the Court noted in its July 3, 2023 order
13 denying Defendants’ motions to dismiss to operative complaint: (i) “Statement 7 is identical
14 to Statement 1”; (ii) “Statement 4 addresses the same topic as Statements 2 and 3”; (iii)
15 Plaintiffs’ falsity allegations with respect to Statements 2, 3, and 4 are the same; and (iv)
16 Plaintiffs’ falsity allegations with respect to Statements 5 and 6 were the same. See ECF
17 No. 172 at 17, 23, 24.
18         In fact, all of Plaintiffs’ claims are premised upon Defendants’ alleged failure to
19 disclose a common set of omitted facts, and Plaintiffs’ theory of liability—and thus, the
20 issues in this case—are consistent with the theory alleged in the Amended Complaint.
21 Additionally, the certified class spans less than four months, and Plaintiffs only have alleged
22 three corrective events that occurred over a period of just 11 days. Although Defendants
23 claim that they need to “synthesize [] two years of discovery,” it is noteworthy that
24 Defendants fought the production of much of that discovery on relevance grounds, and most
25 of their experts have failed to meaningfully engage with the evidentiary record in this action.
26         Given the significant factual overlap between the alleged misstatements and
27
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28     As noted above, Defendants have not requested leave to file two summary judgment
     motions on behalf of the Director Defendants.
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 1 allegations of falsity in this case, there is simply no good reason why Defendants need more
 2 than 7,000 words (nearly 30 pages) of briefing to explain to the Court why, in their view,
 3 this case is so clear cut that no genuine factual disputes exist and summary judgment is
 4 warranted.3
 5         Moreover, good cause certainly does not exist—and none is identified in Defendants’
 6 motion—to allow the Director Defendants to disregard this Court’s individual practices by
 7 filing multiple summary judgment motions. Indeed, even if Defendants had requested leave
 8 to file two summary judgment motions on behalf of the Director Defendants (which they
 9 did not), good cause would not exist because, contrary to the Rivian Defendants’ assertions,
10 the Director Defendants do not have any defenses that are “unique” to them. Each
11 Defendant has a negative causation affirmative defense to liability under Section 11(e).
12 Other than Rivian, each Defendant has a due diligence affirmative defense under Section
13 11(b). And each of the Individual Defendants against whom Plaintiffs assert claims under
14 Section 15 have the same affirmative defense. Given that the Defendants will file a
15 summary judgment motion “to dispose of all claims asserted against them,” there is no need
16 to separately address the Director Defendants’ defenses to these claims—any arguments or
17 facts concerning the Director Defendants can be included in one summary judgment motion
18 and Rule 56.1 statement.
19         For each of these reasons, the Rivian Defendants have failed to demonstrate that
20 good cause exists for the relief they request. Their ex parte motion should be denied.
21         Defendants’ Requested (and Implied) Relief Will Prejudice Plaintiffs and Burden
22 the Court. Defendants’ motion noticeably omits any reference to the parties’ forthcoming
23 Daubert motions, which, pursuant to the Court’s January 10, 2025 scheduling order (the
24 “Scheduling Order”), must also be filed on July 3, 2025. ECF No. 447. Collectively, the
25 parties have identified 13 different experts (six by Defendants and seven by Plaintiffs).
26
27   3
     If anything, by requesting to significantly increase the volume of summary judgment
28 briefing, Defendants appear to be acknowledging that the factual record in this case is
   complex (and thus not ripe for adjudication on a motion for summary judgment).
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 1 Thus, if Defendants’ ex parte motion is granted, Defendants would conceivably be
 2 permitted to file 17,000 words worth of summary judgment briefing and 49,000 words
 3 worth of Daubert briefing on July 3, 2025.4 This is in addition to (potentially) two Rule
 4 56.1 statements and an untold number of exhibits in support of their summary judgment
 5 and Daubert motions. Pursuant to the Scheduling Order, Plaintiffs would then have just
 6 four weeks (including the July 4th holiday) to respond to up to 66,000 words of briefing and
 7 prepare responses to multiple Rule 56.1 statements. Likewise, the Court would be required
 8 to adjudicate multiple summary judgment motions, in addition to a number of Daubert
 9 challenges. For this added reason, Defendants’ motion should be denied.
10         Finally, in an effort to resolve the parties’ dispute, Plaintiffs made the following
11 proposal to the Rivian Defendants: If Defendants wish to file a single 10,000-word motion
12 for summary judgment, Plaintiffs would not oppose that request provided there is some
13 adjustment to the case schedule to account for the volume of briefing to which Plaintiffs
14 may need to respond. Below is the modified case schedule Plaintiffs proposed to the Rivian
15 Defendants.
16                EVENT                   CURRENT             PROPOSED DEADLINE
17                                        DEADLINE
         Last Day to File
18                                         July 3, 2025               July 3, 2025
         Dispositive Motions
19       Last Day to File
         Opposition to Dispositive       August 1, 2025             August 1, 2025
20       Motions
21       Last Day to File Replies to
                                         August 29, 2025            August 29, 2025
         Dispositive Motions
22       Last Day to File Daubert
                                           July 3, 2025             August 29, 2025
23       Motions
24
25   4
      When coupled with Plaintiffs’ Daubert motions, this means that the Court could
26 potentially receive up to 108,000 words worth of briefing on July 3, 2025. If the Court
   granted Plaintiffs reciprocal word extensions for its summary judgment oppositions and
27 allowed Defendants to file two replies in support of summary judgment of up to 9,200 words
28 collectively, the parties’ motions could generate up to 279,800 words (over 1,000 pages) of
   briefing, multiple 56.1 statements and responses, and an untold number of exhibits.
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 1       Last Day to File
         Opposition to Daubert                                         September 19, 2025
 2
         Motions
 3       Last Day to File Replies to
                                                                         October 7, 2025
 4       Daubert Motions
         Last Day to File Motions
 5                                         October 31, 2025             October 31, 2025
         in Limine
 6       Final Pretrial Conference        December 5, 2025              December 5, 2025

 7         If the Court is inclined to grant some or all of the relief sought (or implied, in the case
 8 of the Director Defendants’ failure to seek leave to file a second summary judgment motion
 9 or brief) by Defendants’ motion, then in an effort to address the added burden imposed upon
10 Plaintiffs, Plaintiffs respectfully request that the Court: (i) grant Plaintiffs an equivalent
11 number of words for their opposition briefs; and (ii) amend the schedule in the manner
12 reflected above.
13                                         CONCLUSION
14         For the foregoing reasons, Defendants’ Ex Parte Application to Exceed Word Limits
15 for Summary Judgment Motion should be denied in its entirety.
16
17 Dated: June 19, 2025                      Respectfully submitted,
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